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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                                  Case No.:

                               Plaintiff,

       vs.

THE INDIVIDUALS, CORPORATIONS, LIMITED
LIABILITY COMPANIES, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A TO THE
COMPLAINT,

                               Defendants.



                           DECLARATION OF DEEPA A. CHARI

       I, Deepa A. Chari, declare and state as follows:

       1.      I am an attorney licensed to practice in Illinois and before this Court. I am counsel

for Plaintiff Roadget Business Pte. Ltd. in this matter.

       2.      I submit this Declaration in support of Plaintiff’s Ex Parte Motion for Entry of a

Temporary Restraining Order. I have personal knowledge of the facts stated herein. If called as a

witness, I could and would testify to these statements.

       3.      Attached as Exhibit 1 is a true and correct copy of an article, last updated on

November 13, 2023, titled Most Visited Apparel and Fashion Websites in the World, September

2023, from the website Semrush, available at

https://www.semrush.com/website/top/global/fashion/ (accessed December 5, 2023).




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         4.     Attached as Exhibit 2 is a true and correct copy of the March 20, 2023 article

Most Downloaded Fashion Apps in 2022 from the website AppTweak, available at

https://www.apptweak.com/en/aso-blog/most-downloaded-fashion-apps (accessed December 5,

2023).

         5.     Attached as Exhibit 3 are true and correct screenshots of SHEIN product offerings

using the Roadget Copyrights, publicly available on the SHEIN website. The URL of each

product offering is available in the Sealed Complaint, ¶ 14. A member of my team retrieved

these screenshots on May 30, 2024.

         6.     Attached as Exhibit 4 are true and correct screenshots of each Defendant’s

product offerings, displaying images strikingly similar—in many cases virtually identical—to the

Roadget Copyrights. The URL of each product offering is available in Schedule A to the Sealed

Complaint. A member of my team retrieved these screenshots on May 16 and May 17, 2024.

         7.     Attached as Exhibit 5 are true and correct screenshots of each Defendant’s

shipping page, showing that each Defendant offers shipping to the United States, including

Illinois, and accepts payment in U.S. dollars. A member of my team retrieved these screenshots

on May 16 and May 17, 2024.



         I declare under penalty of perjury that the foregoing is true and correct.



 Executed on June 13, 2024




                                                                     Deepa A. Chari



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